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                         MIDDLE DISTRICT OF LOUISIANA

SHARON LEWIS,                                                 CIVIL ACTION
    Plaintiff

VERSUS                                                        NO. 21-198-SM-RLB

LOUISIANA STATE UNIVERSITY, ET AL.,
     Defendants

                                        ORDER

      Considering the foregoing Motion to Leave To File Second Amended Complaint and

First Amended RICO Case Statement.

      IT IS ORDERED that Plaintiff Sharon Lewis Motion to Leave To File Second Amended

Complaint and First Amended RICO Case Statement is hereby granted.

      IT IS SO ORDERED

      New Orleans, Louisiana this ______ of______________2022.


                         __________________________________
                            HONORABLE SUSIE MORGAN
                          UNITED STATES DISTRICT JUDGE
